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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater            MDL 2179
Horizon” in the Gulf of Mexico, on April 02,
2010                                                  SECTION J

                                                      JUDGE CARL J. BARBIER
This Document Relates to:
Donovan v. Barbier; et al                             MAGISTRATE
2:21:cv-00237                                         DONNA PHILLIPS CURRAULT



                          MEMORANDUM IN SUPPORT OF
                   MOTION FR LEAVE TO FILE MOTION OUT OF TIME

           MAY IT PLEASE THE COURT, Stephen J. Herman and James P. Roy present this

Memorandum in Support of their Motion for Leave to File Motion Out of Time.

           On July 23, 2021, this Court orally granted Mr. Herman’s and Mr. Roy’s Motion for

Sanctions and to Enjoin Further Frivolous Filings by plaintiff and counsel, Brian J. Donovan of

The Donovan Law Group (collectively “Mr. Donovan”) (Rec. Doc. 26999) and provided 21 days

for filing a Motion to Fix the Attorneys’ Fees (“Motion”).      On Friday, August 13, 2021,

undersigned timely filed the Motion to Fix Attorneys’ Fees through File & ServeXpress – the

filing due date.     The same day, a courtesy copy was also emailed to Mr. Donovan at

BrianJDonovan@verizon.net.        On Saturday, August 14, 2021, Mr. Donovan emailed

undersigned from donovanlawgroup@gmail.com inquiring if the Motion had been timely filed.

A copy of the Motion was then emailed to Mr. Donovan at the new email address. This

exchange was undersigned’s first indication of a possible filing error, which was verified by

Court staff on Monday, August 16, 2021. Accordingly, undersigned was advised by Court staff

that the Motion should have also been filed through the Court’s ECF system and that the instant



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Motion For Leave is now needed to correct undersigned’s clerical error. The error is entirely by

undersigned counsel and his clients should not be prejudiced by his unfamiliarity with MDL

filing procedure. Accordingly, undersigned counsel seeks leave of Court to file the Motion via

the ECF system out of time.

                                             Respectfully submitted,


                                             /s/ Edward W. Trapolin
                                            Edward W. Trapolin, Esq. (Bar No. 27667)
                                            Gus A. Fritchie, III (Bar No. 5751), T.A.
                                            IRWIN FRITCHIE URQUHART & MOORE LLC
                                            400 Poydras Street, Suite 2700
                                            New Orleans, Louisiana 70130
                                            Phone: (504) 310-2100
                                            FAX: (504) 310-2101

                                            Attorneys for Stephen J. Herman and James P. Roy

                                  CERTIFICATE OF SERVICE

           I hereby certify that the above and foregoing Motion For Leave to File Motion Out of
Time has been served on All Counsel by electronically uploading the same to File and
ServeXpress in accordance with Pretrial Order No. 12, as amended, and that the foregoing was
electronically filed with the Clerk of Court of the United States District Court for the Eastern
District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing
in accordance with the procedures established in MDL 2179, on this 16th day of August 2021.



                                                     /s/ Edward W. Trapolin




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